Case 1:20-cr-20252-MGC Document 19 Entered on FLSD Docket 12/10/2020 Page 1 ofYH
                                                                               9


                                                                               Dec 8, 2020

                         UNITED STATES DISTRICT COURT

               20-20252-CR-COOKE/O'SULLIVAN
                         SOUTH ERN DISTRICT OF FLORIDA

                         C ASE N O .
                                       18U.S.C.j371
                                       18U.S.C.j659
                                       18U.S.C.j641
                                       18U.S.C.j981(a)(1)(C)
   UNITED STATES OF AM ERICA

   V S.


   YOELW S DENIS HERNANDEZ,
          a/k/adtGuajiro,''and
   LUIS U IG A M O NTER O ,
         a/lk/a d$FIaco,''

                 Defendants.
                                           /

                                       IN D IC TM EN T

          TheGrand Jury chargesthat:

                                       C O UN T 1
             Conspiracy to PossessG oods Stolen From an Interstate Shipm ent
                                       (18U.S.C.j371)
          Beginning onoraboutAugust8,2020,and continuingthrough on oraboutAugust20,

   2020,in M iami-Dade County,Palm Beach County,and Broward County,in the Southern

   DistrictofFlodda,and elsewhere,thedefendants,

                            YOELVIS DENIS HERNANDEZ,
                                   a/k/attGuajiro,''and
                                 LUIS U RR A M O N TER O ,
                                      a/k/a çiFlaco,''
Case 1:20-cr-20252-MGC Document 19 Entered on FLSD Docket 12/10/2020 Page 2 of 9




   did knowingly and willfully combine,conspire,confederate,and agree with each other,and

   w ith persons known and unknow n to the G rand Jury,to com m itoffenses againstthe U nited

   States,thatis:

                    a.   to know ingly receive and have in their possession goods,valued at

   $1,000 orm ore,thatis,medicalventilatorsand ventilatorequipm ent,which had been stolen,
   unlaw fully taken,and canied aw ay from am otortruck and trailer,which goodsw ere m oving

   as,and w hich w ere partof,and which constituted an interstate and foreign shipm entoffreight

   and other property,know ing the sam e to have been stolen,in violation of Title 18,U nited

   States Code,Section 659*
                          ,and

                 b.      to knowingly and willfully em bezzle,steal,andpurloin,and convertto

   theirow n use,a thing ofvalue ofthe U nited States and a departm entand agency thereof,that

   is,the United States A gency for lnternational D evelopm ent,the aggregate value of w hich

   exceeded $1,000,thatis,m edicalventilatorsand ventilatorequipm ent,towhich theywerenot
   entitled,in violation ofTitle 18,U nited States Code,Section 641.

                             PU R PO SE O F TH E C O N SPIM C Y

          lt was the purpose of the conspiracy for Y O ELV IS D EN IS H ER N AN DEZ,a/k/a

   diGuajiro,''andLUIS URRA M ONTERO,a/k/açdFlacoy''tounlawfullyelzrichthemselves
   and their coconspirators by stealing m edical ventilators and ventilator equipm ent that

   belonged to the U nited Statesthathad been shipped in interstate com m erce.

                                        O V ERT A C TS

          lnfurtheranceoftheconspiracyandtoachievethepurposeandobjectsthereof,atleast
   one ofthe co-conspirators com m itted or caused to be com m itted,in the Southern D istrictof

   Florida,and elsewhere,atleastone ofthe follow ing overtacts,nm ong others:
Case 1:20-cr-20252-MGC Document 19 Entered on FLSD Docket 12/10/2020 Page 3 of 9



                On or about August 9, 2020, in Palm Beach County, LUIS URRA

  M ONTERO ,YOELVIS DENIS HERNANDEZ,and their co-conspirators stole a white

  H yundaitrailerw ith a V ehicle Identification N tlm berending in 1375 containing one hundred

  andninety-two(192)LTV22200medicalventilatorsandaccompanyingequipmentbelonging
  totheUnited StatesAgency forlnternationalDevelopm ent.

                On or about A ugust 9, 2020, in Palm Beach County, LU IS U R R A

  M ON TER O drove a M aseratisedan from M iam i-D ade County to Palm Beach County to

  assist w ith the theft of the Hyundai trailer containing m edial ventilators belonging to the

  United StatesA gency for lntem ationalD evelopm ent.

                On or about A ugust 9, 2020, in Palm Beach County, Y O ELV IS D ENIS

  HERNANDEZ called LUIS URRA M ONTERO atapproxim ately 5:14 a.m .

         4.     On orabout August 10,2020,in M iami-Dade County,YO ELVIS DENIS

  HERNANDEZ and LUIS URRA M ONTERO paid approximately $140 cash to securethe
  stolen ventilators and ventilator equipm ent on property,located in M iam i-Dade County,

  Florida.

                On or about A ugust 19, 2020, Y O ELV IS D ENIS H ERN A N DEZ paid

  approxim ately $256 to renta storage tmitatExtra Space Storage in M iam i-Dade Cotmty,
  Florida,in orderto storecertain ofthestolen ventilators.

         Al1in violation ofTitle 18,United StatesCode,Section 371.
                                                                                                             I
             Case 1:20-cr-20252-MGC Document 19 Entered on FLSD Docket 12/10/2020 Page 4 of 9                1
-
                                                                                                             r
'                                                                                                            !
'
@
1
t                                                                                                            .
1
1
j
$                                                      COUNT 2
                                 Possession of G oods Stolen from Interstate Shipm ent
                                                                                                             ,
!


î
                                                   (18U.S.C.j659)
hl
.
 '
 ,l

q.'
(
                       BeginningonoraboutAugust8,2020,andcontinuingthroughonoraboutAugust20,
j
(               2020, in M iam i-Dade County and Palm Beach County, inthe Southern DistrictofFlorida,
j
,

t               and elsewhere,the defendants,
j
?
j
1                                         YoEluvlsDENISHERNANDEZ,
                                               a/k/addGuajiro,''and
k
l                                               I-cls cltltA M ONTERO,
j
t
,
                                                     a/k/a(iFlaco,''
j
i               did knowingly receive and have in theirpossession goods,valued at$1,000 orm ore,thatis,
k
l
j
$               medicalventilatorsandventilatorequipment,whichhadbeenstolen,unlawfullytaken,and
)
1
t
E               carriedawayfrom amotortrtzckandtrailer,whichgoodsweremovingas,andwhichwere
j
.
,
.
.

'
t
r
.
j
-
j               partof,andwhichconstitutedaninterstateandforeignshipmentoffreightandotherproperty,
j
j
y               knowingthesametohavebeenstolen, in violation ofTitle 18,United StatesCode,Sections
1
l                659anda  .

'
j
)
r
j
.
j
.
y
1                                                      COUNT 3
)                                            TlteftofG overnm entPropeo
                                                    (18tJ.s.c.j641)
)
7                      onoraboutAugust9,2020,inpalm Beachcounty,inthesouthern DistrictofFlorida,
.
    8
    -
    1
    j
t
i
j
-                and elsewhere,thedefendants,
    )
    )                                      Y O ELV IS DEN IS H ER NA ND EZ ,
)
r                                                 a/k/atiGuajiro''and
                                                LU IS UltltA M O N TER O ,
    t
    '
                                                      adla Kçy-laco,,,
    !
    .
    .
    :
                 didknowingly andwillfullyembezzle,steal,andpurloin,andconverttotheirown use,athing
    E
    )
                 ofvalue ofthe U nited States and a departm entand agency thereof,thatis,the United States
    ?
    )
    j
    '
                 AgencyforlntemationalDevelopment,theaggregatevalueofwhichexceeded$1,000,that
    )
    j;
    '
    l
    i
    t
    è
    ;
    .

    j
    1
    j                                                        4
    ,   1
        j
        ',
        .



        j
Case 1:20-cr-20252-MGC Document 19 Entered on FLSD Docket 12/10/2020 Page 5 of 9




   is,medicalventilatorsand ventilatorequipm ent, to which the defendantsw ere notentitled, in

   violation ofTitle 18,United StatesCode, Sections641 and 2.

                               FO R FEIT UR E A LLEG A TIO N S

          1.      The allegations ofthis Indictm entare re-alleged and by this reference fully

   inoop orated herein foralleging crim inalforfeitureto theUnited Statesofcertain property in

   w hich the defendants, Y O ELV IS DEN IS H ER N AN D EZ ,a/k/a diGuajiro,''and LUIS

   UItR A M ONTERO ,a/k/a çfFlacoy''havean interest.

                 Upon the conviction of a violation ofTitle 18, United States Code,Section

   659,orconspiracy to com m it such violation, asalleged in this lndictm ent,the defendantso

   convicted shallforfeitto the United StatesofAm erica, pursuant to Title 18,U nited States

   Code,Section981(a)(1)(C),a11property,realorpersonal,whichconstitutesorisderivedfrom
   proceeds traceable to such offense.

                 Upon the conviction of a violation of Title 18,U nited States Code,Section

   641,asallegedinthislndictment,thedefendantso convicted shallforfeitto theUnited States

   ofAm erica,plzrsuantto Title 18,United StatesCode, Section981(a)(1)(C),allproperty,real

   orpersonal,which constitutesorisderived from proceedstraceableto such offense.




                (REMAINDER OF PAGE INTENTIONALLY LEFT BLANK)
Case 1:20-cr-20252-MGC Document 19 Entered on FLSD Docket 12/10/2020 Page 6 of 9




         A1lpursuantto Title 18,United StatesCode, Section981(a)(1)(C),asmadeapplicable

   by Title 28,United StatesCode, Section 2461(c),and theprocedures setforth in Title 21,

   United States Code,Section 853.

                                           A TRU E BILL


                                           F     PER SON


    l                Q
   A RIAN A FA JA RD O OR SH AN
   U NITED STA TES A TTORN EY




  LIND SEY LA Z PO       O S FRIED M AN
  ASSISTAN T             STA TES A TTORN EY




                                           6
Case 1:20-cr-20252-MGC Document 19 Entered on FLSD Docket 12/10/2020 Page 7 of 9
                                           UNITED STATES DISTRICT CO URT
                                          SOUTH ERN DISTRICT O F FLORIDA

UNITED STATES O F AM ERICA                                   CASE NO .

                                                             CERTIFICATE O F TRIAL ATTO RN EY*
YOELVIS DENISHERNANDEZ,
 a/k/a'Guajiro,''andLUISUlkll.
                             A                               Superseding Case Inform ation:
M ONTERO>a/l
           c/a''
               F1aco,'' Defendants.           /
CourtDivijiop:(selectOne)                                    New defendantts)               Yes
 ?'     M laml             K ey W est                        Num berofnew defendants
        FTL                W PB         FTP                  Totalnumberofcounts

                 lhave carefully considered the allegations ofthe indictment,the numberofdefendants,the numberof
                 probablewitnessesand the legalcomplexitiesofthe lndictment/lnformation attachedhereto.
                 lam aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                 Courtin Setting theircalendars and scheduling criminaltrials underthe mandate ofthe Speedy Trial
                 Act,Title28U.S.C.Section 3161.
                 lnterpreter:      (YesorNo)           Yes
                 Listlanguage and/ordialect            Spanish
                 Thiscasewilltake 3-4 daysforthepartiesto try.
                 Pleasecheck appropriate category andtypeofoffenselistedbelow :
                 (Checkonlyone)                                        (Checkonlyone)
        I        0 to 5 days                      ?'                   Petty
        11       6 to 10 days                                          M inor
        IIl      ll to 20days                                          M isdem .
        IV       21to 60 days                                          Felony               z
        V        61 daysand over
        6.       Hasthiscasepreviouslybeen filed inthisDistrictCourt?                    (YesorNo)   No
         lfyes:Judge                                         CaseNo.
         (Attachcopyofdispositiveorder)
         Hasacomplaintbeentiledinthismatter?                 (YesorNo)           YeS
         lfyes:M agistrateCaseNo.                                20-m i-3449-AOR:20-mi-3571-JB
         Related m iscellaneousnumbers:
         Defendantts)infederalcustodyasof
         Defendantts)instatecustodyasof
         Rule20 from the Districtof
         lsthisapotentialdeathpenalt'
                                    ycase?(YesorNo)                      No
                 Doesthiscaseoriginate from a matterpending in the CentralRegion ofthe U.S.Attorney'sOffice
                 priortoAugust9,2013(M ag.JudgeAlicia0.Valle)?                           Yes         No /
        8.       Doesthiscaseoriginate from a matterpending in theNorthern Region ofthe U.S.Attorney'sOffice
                 priortoAugust8,2014(M ag.JudgeShaniekM aynard)?                         Yes         No z
                 Doesthiscaseoriginate from a matterpending inthe CentralRegion ofthe U.S.Attorney'sOffice
                 priortoOctober3,2019(M ag.JudgeJaredStrauss)?                     . .....
                                                                                         -. Yes      No z

                                                                       Lindse azo oulosFriedm an
                                                                       Assista  'ed statesAttorney
 *penalty sheetts)attached                                              FloridaBarNumber091792              Rw 6/syzazo
Case 1:20-cr-20252-MGC Document 19 Entered on FLSD Docket 12/10/2020 Page 8 of 9




                            UN IT ED STA TES DIST RIC T C O UR T
                            SO UTH ERN DISTRICT O F FLORIDA

                                      PEN A LTY SH EET
  D efendant'sN am e:     Y OELV IS DEN IS H ERN AN D EZ a/k/
                                                               aççGuajiro''
  Case No:

  Count#:l

  Conspiracy to StealProperty ofU .S.andtoPossesjGopdsStplçnfrop Jnt
                                                                   çptate Shipm ent
                                                                        -



  Title 18,U nited StatesCode, Sedion 371

  *M ax.Penalty: 5 years'Im prisonm ent

  Cotmt#:2

  Possession ofGoodsStolen from an lnterstate Shipment

 Title 18,United States Code, Sed ion 659

  *M ax.Penalty: 10 years'Im prisonm ent

 Count#:3

 TheftofGoyepm entPp peqy
 Title 18,United StateqCode, Section 641

 *M ax.Penalty: 10 years'lm prisonm ent
 WR efers only to possible term ofincarceration, does notincludepossible fines
 specialassessm ents,parole term s                                            ,restitution,
                                   ,or forfeituresthatm ay be applicable.
Case 1:20-cr-20252-MGC Document 19 Entered on FLSD Docket 12/10/2020 Page 9 of 9




                            UNITED STATES DISTRICT COURT
                            SO UTHERN DISTRICT OF FLORIDA

                                      PEN AL TY SH EE T
  Defendant'sNam e:        LUIS URRA M ONTERO a/k/a ûtFlaco''

  C ase N o:

  Count#:1

  Conspiracy to StealPropertyofU .S.and to PossessGoodsStolen from InterstateShipment

  Title 18,United StatesCode, Sed ion 371

  *M ax.Penalfy: 5 years'lm prisonment

  Count#:2

 Possession ofGoodsStolen from an lnterstate Shipm ent

 Title 18,United StatesCode, Section 659

 *M ax.Penalty: 10 years'lmprisonm ent

 Count#:3

 TheftofGovernm entProperty

 Title 18,United StatesCode, Section 641

 *M ax.Penalty: 10 years'lmprisonment
 WR efersonly to possible term ofincarceration, does notinclude possible fines
 special                                                                      ,restitution,
        assessm ents,parole term s,or forfeitures thatm ay be applicable.
